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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA

              v.                             No. 19 CR 322

 EDWARD M. BURKE,                            Hon. Virginia M. Kendall
 PETER J. ANDREWS, and
 CHARLES CUI


 GOVERNMENT’S MOTION FOR LEAVE TO FILE BRIEF IN EXCESSS OF
              15-PAGE FILING LIMIT INSTANTER

      The UNITED STATES OF AMERICA, through its attorney, MORRIS

PASQUAL, Acting United States Attorney for the Northern District of Illinois,

respectfully submits the following motion for leave to file its response to defendant

EDWARD M. BURKE’s motion to exclude or limit the expert testimony of Dr.

Constance A. Mixon, Ph.D., in excess of the 15-page filing limit instanter. In order to

fully set forth the legal and factual matters for this filing, more than 15 pages was

required. Accordingly, the government respectfully requests the Court’s permission

to file instanter its 22-page response to defendant EDWARD M. BURKE’s motion to

exclude or limit the expert testimony of Professor Mixon.

                                         Respectfully submitted,
                                         MORRIS PASQUAL
                                         Acting United States Attorney

                                   By:     /s/ Sarah Streicker
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